830 F.2d 193
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.CHARTER OAK FEDERAL SAVINGS AND LOAN, Plaintiff-Appellant,v.STATE OF OHIO, DIVISION OF S &amp; L ASSOCIATIONS, et al.,Defendants-Appellees.
    No. 87-3560
    United States Court of Appeals, Sixth Circuit.
    August 18, 1987.
    
      ORDER
      Before MILBURN and RYAN, Circuit Judges, and GEORGE CLIFTON EDWARDS, Jr., Senior Circuit Judge.
    
    
      1
      In accordance with the agreement reached between the parties in settlement discussions conducted pursuant to Sixth Circuit Rule 18, the parties jointly move to remand this cause to the United States District Court for the Southern District of Ohio for determination of the parties' joint motion filed pursuant to Rule 60(b)(6), Federal Rules of Civil Procedure.
    
    
      2
      Upon consideration of the motion and further considering Judge Rubin's order of June 19, 1987,
    
    
      3
      IT IS ORDERED that the motion be and hereby is granted.  The appeal(s) is remanded to the District Court for further proceedings.  See First National Bank of Salem, Ohio v. Hirsch, 535 F.2d 343 (6th Cir. 1976).
    
    